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   53575
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   Attorney for Santander Consumer USA Inc. dba Chrysler Capital
   JM5630_________________________

                                                                  United States Bankruptcy Court
                                                                  For the District of New Jersey

   IN RE:
   ASSUNCAO BROS., INC.                                           HEARING DATE:
                                                                  CHAPTER 11
                                                                  CASE NUMBER: 22‐16159 (CMG)

   The application of John R. Morton, Jr., Esquire, respectfully represents:

   1. I am the attorney for Santander Consumer USA Inc. dba Chrysler Capital and am fully familiar

       with the facts of this case.

   2. Debtor’s attorney has consented to entry of an order vacating the automatic stay allowing our

       client to repossess and sell the vehicle.

   3. Good cause exists for entry of the order for stay relief.




   WHEREFORE, applicant requests entry of the order submitted herewith.

                                                   /s/ John R. Morton, Jr., Esq.
                                                   John R. Morton, Jr., Esq.
                                                   Attorney for Santander Consumer USA Inc. dba
                                                   Chrysler Capital
